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                                                       October 21, 2024

     Via ECF
     Honorable Thomas I. Vanaskie, Special Master
     Stevens & Lee, P.C.
     1500 Market Street, East Tower, 18th Floor
     Philadelphia, Pennsylvania 19103

                Re:        In re Valsartan, Losartan, and Irbesartan Products Liability
                           Litigation, No. 1:19-md-02875 (D.N.J.)

     Dear Judge Vanaskie:

                Please accept this agenda letter on behalf of Plaintiffs in advance of the

     October 22, 2024 case management conference.

           1. Identification of Bellwether Cases.

                Twenty-eight cases were selected as personal injury Bellwether cases.

     Plaintiffs have attached a chart at the bottom of this letter which lists the name of

     each plaintiff, which side selected the case, the cancer diagnosis, and which

     defendants are at issue in each case, based on the available information. It is possible

     that some of the information set forth will need to be corrected through a meet and
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  confer between the parties.

     2. The Number and Order of Bellwether Trials.

        This MDL has been pending for over five years, and the personal injury

  plaintiffs either have cancer or have since passed away. Time is of the essence for

  these plaintiffs, who eagerly await their day in court.

        The first bellwether trials should be drawn from the bellwether pool. The

  Parties previously completed additional written discovery, depositions of the

  plaintiffs, depositions of prescribing and treating physicians.

        Plaintiffs submit that it would be most efficient and helpful to progressing the

  litigation to focus on the defendants who were the subject of the recently postponed

  economic loss trial, and in particular ZHP - the manufacturer of the API used in the

  largest share of cases. This will allow the Parties and the Court to use the extensive

  work performed in connection with the postponed trial in turning to the personal

  injury track.

        In addition, Plaintiffs submit that the cases to be selected should include the

  two most numerous cancers across the litigation, liver cancer and colorectal cancer.

  In addition to providing helpful information across the litigation in terms of value

  and resolution, the liver cancer cases have the added benefit of directly applying the

  Gomm, Pottegard, and Mansouri studies finding an increased risk of liver cancer
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  arising from the use of the contaminated valsartan pills.

        Plaintiffs believe that the litigation should focus on multi-plaintiff trials,

  which is a common practice in MDL litigation to increase the efficiencies each time

  a jury is selected. However, in order to avoid a dispute over the first trial (Defendants

  are opposed to multi-plaintiff trials)(, and in the interest of streamlining the process

  to get to the first trial sooner, Plaintiffs submit that the first bellwether trial should

  be a single-plaintiff liver cancer case involving only the ZHP API and other

  downstream defendants (if any). Then, the second bellwether trial should be a multi-

  plaintiff colorectal cancer case against only the ZHP API and other downstream

  defendants. The work-up of other cases involving other cancer types and defendants

  can be addressed once the process to move forward to the first trial has gotten

  underway.

                                     A. CANCER TYPE

        For bodily injury cancer cases, the general causation analysis focus on

  whether the NDMA/NDEA in the VCD’s was capable of causing or substantially

  contributing to a plaintiff’s cancer. According to data from the 1083 completed

  version 1 plaintiff facts sheets, approximately 35% of the plaintiffs in this litigation

  have been diagnosed with colorectal cancer and approximately 18% of the plaintiffs

  in this litigation have been diagnosed with liver cancer. These are the two most
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  common cancer types that plaintiffs have been diagnosed with in this litigation. As

  touched on above, it was the Defendants who raised the Mansouri study with the

  Court. That study showed a statistically significant increased risk of liver cancer due

  to valsartan usage and corroborated the findings from the Gomm study that also

  showed a statistically significant increased risk of liver cancer due to valsartan

  usage. The first bellwether trial should be a single-plaintiff liver cancer case against

  only the ZHP API and other downstream defendants.

        For the second trial, there are several colorectal cancer cases in the bellwether

  pool, so a multi-plaintiff colorectal cancer case against only the ZHP API and other

  downstream defendants can be scheduled for the second trial, allowing the parties

  the time needed to prepare a multi-plaintiff trial. By focusing the first two bellwether

  trials on liver and colorectal cancer, the first two trials would be representative of

  the most numerous overall cancer types in this litigation.

                               B. ZHP API DEFENDANTS

        At this time, the depositions, briefing, Daubert rulings, and extensive legal

  rulings (a number of which will be applicable in the personal injury context, or at

  least instructive) related to the ZHP API defendants (ZHP, Teva, and Torrent) have

  been largely completed. In addition, the deposition designations for ZHP, Teva, and

  Torrent have mostly been completed, needing only to be modified to add general
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  causation testimony, testimony regarding consumers as opposed to TPPs, and

  remove testimony only applicable to economic loss (e.g. IQVIA). These first two

  trials will be far more efficient to work up and take to trial, without the Mylan,

  Aurobindo, and Hetero API defendants. A separate track of developing the liability

  experts against Mylan and Aurobindo, as well as the deposition designations, should

  proceed concurrently with the first two bellwether trials. The Hetero defendants have

  settled the valsartan bodily injury claims and the administration of the settlement

  will be occurring in the next few months. Therefore, the first two bellwether cases

  should only include cases from the bellwether pool where the plaintiff only used the

  ZHP API valsartan (and not the Mylan, Aurobindo, or Hetero API valsartan).

        Plaintiffs understand that Defendants intend to request random selection or

  selection of cases by both sides. Plaintiffs believe that prioritization of the liver and

  colorectal cancer cases, and focus on cases involving the ZHP API would be most

  efficient and logical.

     3. Lexecon Waivers.

        To the extent leadership represents the plaintiff, we can represent that we will

  recommend that our clients waive Lexecon and allow the cases to be tried here in the

  MDL Court (where necessary, taking into account the presence of ZHP, Teva, and

  Torrent in New Jersey). To the extent a plaintiff is not represented by leadership, the
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  PEC will reach out to that counsel and attempt to obtain agreement on a case-by-

  case basis, as needed.

     4. The scope of any remaining fact discovery for the bellwether cases
        selected for trial.

          Plaintiffs do not believe there is a need for further written discovery. In certain

  cases, there are additional fact depositions that may need to be taken, though a large

  number of depositions have already occurred.

          Plaintiffs, and potentially Defendants, will seek leave to conduct de bene esse

  depositions of certain experts in order to ensure that their testimony is preserved,

  and that it can be used in multiple rounds of bellwether trials since the experts cannot

  be expected to be available in perpetuity, or for multiple trials (potentially across the

  country), in light of the age of this litigation and two postponements of trials this

  year.

     5. Deposition Designations for Bellwether Trials.

          The Parties and the Court were close to finalizing all deposition designations

  for the TPP trial. Plaintiffs have already begun to update those designations for use

  at any upcoming trial that would include general causation (for example, the

  designations of ZHP 30(b)(6) witness Min Li, as ruled on by the Court, have been

  supplemented with general causation testimony and have been provided to counsel

  for ZHP). The Court should order the Parties to meet and confer on those updated
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  designations and then schedule prompt oral arguments on the remaining issues so

  that the current momentum can be utilized to finalize these designations

  expeditiously.

     6. Witness and Exhibit Lists for Bellwether Trials.

         Plaintiffs propose utilizing the witness and exhibit lists already prepared for

  trial, subject only to modifications due to the substitution of personal injury trials for

  the economic loss trial. The timing of the exchange should be at least 90 days prior

  to trial.

     7. Proposed Jury Instructions.

         Plaintiffs proposed filing proposed jury instructions 7 days before any

  bellwether trial.

     8. ZHP’s Intent to Call Maggie Kong or Jinsheng Lin at Bellwether Trials.

         ZHP has informed Plaintiffs that it intends to call Maggie Kong and Jinsheng

  Lin at any upcoming trial. Thus, Plaintiffs ask the Court to rule on the fully briefed

  and argued motion to preclude the presentation of both witnesses at any trial in this

  MDL.

     9. Outstanding Disputes Regarding Reports or Discovery of Causation
        Experts.

         Plaintiffs are unaware of any outstanding disputes. Defendants have indicated

  that they will be requesting that the Court repeat the Daubert process for the general
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  causation experts, due to the amendments to Rule 702. As Judge Kugler properly

  applied the standard, as gatekeeper, there is no good reason to go back over that

  ground which was thoroughly covered by the Court already. That would be nothing

  more than a distraction, and instrument of delay.

        Similarly, Defendants have indicated that they will be offering to conduct a

  science day for the Court on general causation. At this point in the litigation, long

  after the Daubert process for the general causation experts, with the litigation nearly

  reaching trial twice this year, this is unnecessary, and will distract the parties and the

  Court from the substantive work that must be done.

     10. Unresolved Daubert Issues.

        On March 18, 2022, Defendants filed a motion for clarification regarding the

  permissible scope of Plaintiffs’ experts Dr. Hecht’s and Dr. Lagana’s general

  causation opinions for n-nitrosodimethylamine (NDEA). (ECF 1976). In their March

  29, 2022 agenda letter, Plaintiffs informed the Court and Defendants that they were

  preparing their opposition as well as a cross motion for clarification of the Court’s

  ruling on another Plaintiff expert, Dr. Panigrahy, which Plaintiffs believe mistakenly

  limited his testimony on NDEA causation to pancreatic cancer. (ECF 1983). At the

  related case management conference on March 30, 2022, the Court suggested “the
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  two sides just talk to each other” before proceeding further with the motions, and the

  motions were tabled. (3/30/2022 Hearing Tr. 19:1-2).

        During the subsequent meet and confer, Plaintiffs proposed including the

  motions as part of the first set of relevant trial motions. Defendants explained that

  they intend to file omnibus Rule 56 motions for summary judgment on personal

  injury claims related to NDEA and cancers other than pancreatic, and thus wanted

  to have the clarification motions decided before any Rule 56 motions on the personal

  injury cases based on the underlying Daubert decisions. Plaintiffs agreed that if the

  Court is inclined to allow the filing of such a motion (Plaintiffs object to the filing

  of Rule 56 motions directed to specific personal injury cases before the cases are

  fully worked up for trial, including specific causation experts), the Plaintiffs would

  agree to hold these motions, to be heard prior to the filing of dispositive motions.

  (ECF 2026). The Court agreed with the Parties, and the motions have been held in

  abeyance ever since. (4/29/2022 Hearing Tr. 13:16-14:8).

        Before any bellwether trial that implicates NDEA, the Parties will need to

  complete the briefing on these issues and receive a decision from the Court.
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     11. Need to Supplement Plaintiff Fact Sheets.

        Plaintiffs agree that the PFSs should be updated on a rolling basis in the

  ordinary course, for example to include any recent treatment and medical records,

  information regarding the intervening death of a plaintiff, and other issues.

     12. Schedule for Completion of Punitive Damages Discovery.

        Plaintiffs have sent ZHP, Teva, and Torrent a proposed stipulation for the

  purposes of punitive damages. Plaintiffs await Defendants’ response, and are

  hopeful that the Parties can reach agreement on this issue.

     13. Submission of a Pretrial Order.

        The Parties submitted a PTO in March for the TPP trial and were hours away

  from submitting an updated PTO for the rescheduled TPP trial. As a result of this

  process, Plaintiffs do not believe a future PTO is necessary or helpful to the Parties.

  Plaintiffs’ counsel have never submitted PTOs in other MDLs. Given the

  sophistication of the Parties’ counsel, the highly developed record and significant

  pretrial briefing accompanying any trial, and the contentious nature of the MDL

  precluding agreement on most issues, Plaintiffs ask the Court to either forego the

  submission of a PTO for any future trial or allow the Parties to submit a streamlined

  version of a PTO for the Court’s approval (for example, dispensing with the need

  for the parties to list contested issues - while still requiring that the parties stipulate
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  as to facts and issues that cannot reasonably be disputed). Of course, even without a

  formal PTO, the Parties would exchange witness and exhibit lists, and submit

  stipulations as discussed above. The Parties and the Court can discuss this issue as

  we start to move forward.

     14. Consumer Economic Loss Trials

        Plaintiffs submit that the economic loss track, which the parties worked so

  hard on (with two trials adjourned close to starting), should not be pushed aside, as

  this would be unduly prejudicial to the Parties. As the Court is aware, there is a

  consumer economic loss track separate but concurrent to the TPP track. The

  consumer cases will not implicate the issues of concern to the Court with regard to

  the TPPS. Plaintiffs propose a consumer economic loss subclass trial against ZHP,

  Teva and Torrent, given the amount of work that has been completed with these

  three defendants in preparation for the previously set TPP subclass trial. The same

  claims were certified for the consumer classes as the TPP classes, so the pre-trial

  MIL rulings in the bellwether TPP subclass trial would largely apply to the claims

  for a consumer subclass trial, and the additional motions would flow from the work

  already performed.

        For background, the consumer subclasses were certified at the same time as

  the TPP subclasses on February 8, 2023. At substantial time and expense, direct and
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  publication class notice was provided to consumers thereafter, now nearly one year

  ago. All class representatives have been deposed, and merits fact discovery has been

  completed as to the causes of action alleged and certified. There should not be any

  additional fact discovery to be completed, but if Defendants argue otherwise, it can

  be completed quickly. A schedule can be set for consumer damages expert reports,

  and related expert depositions, summary judgement motions and trial to proceed in

  short order.

        It should be noted that the anticipated merits expert areas would be similar but

  not identical to those for the bellwether TPP subclass trial. Further, in conjunction

  with merits expert reports for a consumer class trial against ZHP, Teva, and Torrent,

  and in an effort to address certain questions raised by the Court in the context of the

  TPP trial, Plaintiffs intend to present an expert report(s) as to consumer damages

  using a conjoint or similar analysis, based on a market research assessment that uses

  statistical analysis and surveys to determine the value consumers of the at-issue

  valsartan products place on the attributes of that product, taking into account both

  the presence of nitrosamines in the product as well as its therapeutic value. 1


  1
    As repeatedly recognized by Judge Kugler, no reasonable consumer would
  purchase the at-issue nitrosamine-laden valsartan, even if they were able to choose
  a contaminated drug in the first place (which they could not). See ECF 728 at 11
  (“Plaintiffs’ alleged economic injury is that they did not receive the benefit of their
  bargain when they purchased Defendants’ VCDs because they were contrary to
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  Plaintiffs also intend to present an expert report which will provide calculations and

  analysis of available sales data (quantity and pricing) as to the at-issue valsartan sold

  by the trial defendants. Plaintiffs anticipate that all lingering fact discovery (if any),

  expert reports, expert depositions, and summary judgment briefing can be completed

  in a matter of months once the Court indicates this track will be pursued.




  Defendants’ warranties and representations—that is, the VCDs were adulterated,
  misbranded, non cGMP compliant, unlawful to sell, and therefore essentially
  worthless”); ECF 775 at 19-20 (“This Court finds that contaminated drugs are
  economically worthless at the point of sale by virtue of the dangerousness caused by
  their contamination, regardless whether the sold VCDs actually achieved the
  medical purpose of lowering blood pressure. Put differently, contaminated drugs,
  even if medically efficacious for their purpose, cannot create a benefit of the bargain
  because the contaminants, and their dangerous effects, were never bargained for.
  Further, contaminated drugs do create a present injury because their sale should
  never have occurred.”); ECF 2261 at 88 (“The Court has considered carefully all of
  the parties’ arguments and concludes that Dr. Conti has set forth a general calculus,
  i.e. mathematical model, which, although possibly flawed because the data are not
  available or forthcoming, may reliably support her presumption of the worthlessness
  of the sold VCDs.”); ECF 2657 at 7; ECF 2694 (“Ds have repeatedly sought the
  Court to repudiate Ps worthlessness theory: at the motion to dismiss stage, at the
  class certification stage, and recently in a motion to decertify the certified classes...
  Regardless of what this argument is called...these theories hinge on different legal
  perspectives and on genuinely disputed, material facts for the trial fact-finder.
  Pursuant to Rule 56(a), the parties’ arguments dispute a material fact about the
  amount of damages—from none to the full amount TPPs reimbursed for the
  insureds’ scripts.”); see also ECF 2469 at 13 (Special Master stating: “ Plaintiffs
  point out that the Court has already determined that the VCDs contaminated with
  carcinogenic substances are economically worthless, ‘regardless whether the sold
  VCDs actually achieved the medical purpose of lowering blood pressure.’”).
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        Additionally, Plaintiffs will be seeking leave to re-open the expert record for

  the bellwether TPP subclass trial - if necessary to address the Court’s concerns raised

  before the second scheduled start of that trial. Prior to this, Plaintiffs proceeded in

  accordance with the law of the case that their claims, damages theory, and Dr.

  Conti’s economic model and opinions all were to be put before a jury. 2 If additional

  areas that were not previously an issue now need to be addressed, in fairness

  Plaintiffs should be provided an opportunity to supplement the TPP subclass trial

  record. This likely can be accomplished at the same time, and in tandem, with the

  work-up of a consumer economic loss subclass trial against ZHP, Teva, and

  Torrent.3




  2
    In Zantac , raised by this Court at the October 10, 2024 conference, the Eleventh
  Circuit already has ruled in the context of standing that TPPs may pursue a
  worthlessness theory for contaminated, adulterated, or non-cGMP compliant drugs.
  See In re Zantac (Ranitidine) Prods. Liab. Litig. , No. 21-10335, 2022 WL
  16729170, at *3 (11th Cir. Nov. 7, 2022) (reversing dismissal of TPP claims for
  purported lack of Article III standing where TPP alleged “that [it] provide[d] eligible
  members with health and welfare benefits, including the payment of and
  reimbursement for prescription drugs” and had reimbursed members for purchasing
  worthless Ranitidine Products; economic injury sufficient where TPP alleges
  “payments or reimbursements for a product that was economically worthless”)
  (internal quotation omitted).
  3
    See supra fn.1; see also Am. C.L. Union v. Mukasey , 534 F.3d 181, 187 (3d Cir.
  2008) (“Under the law-of-the-case doctrine, when a court decides upon a rule of law,
  that decision should continue to govern the same issues in subsequent stages in the
  same case.”) (internal quotation marks omitted).
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                                     Respectfully,



                                     Adam M. Slater
                                     Plaintiffs’ Liaison Counsel

  Cc: Counsel of record (via ECF)
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                BELLWETHER PERSONAL INJURY PLAINTIFFS

    Last Name    First Name    Picked by    Type of Cancer                 SFC Named Defendants
                                                                  ZHP, Huahai, Solco, Teva, Actavis, Aurobindo,
   Bonmon       Yolanda       Plaintiff    Small Intestine
                                                                        Mylan, Apothecare Pharmacy III
                                                                 ZHP, Huahai, Solco, Prinston Aurobindo, Teva,
                                                                 Actavis, Avkare, Bryant Ranch Repack, Cardinal
   Briones      Joe           Plaintiff    Colorectal
                                                                 Health, Major Pharmaceuticals, Northwind Phar-
                                                                                   maceuticals
                                                                 Aurobindo Pharma, Ltd., Zhejiang Huahai Phar-
                                                                  maceutical Co., Ltd., AuroLife Pharma, LLC,
   Brown        Janice        Defense      Esophageal            Aurobindo Pharma USA, Inc., Huahai U.S., Inc.,
                                                                    Solco Healthcare US, Ltd., CVS Health,
                                                                    Walgreens, Prinston Pharmaceutical, Inc.
                                                                 ZHP, Huahai, Solco, Prinston, A-S Medications
                                                                 Solutions, HJ Harkins, NuCare Pharmaceuticals,
   Crawford     Rita          Defense      Small Intestine
                                                                    Remedy Repack, ABC, McKesson, CVS,
                                                                                   Walgreens
                                                                 ZHP, Huahai, Solco, Prinston, Mylan, Teva, Ac-
   Dawson       Nellie        Defense      Colorectal
                                                                        tavis, Cardinal Health, Humana
                                                                   Zhejiang Huahai Pharmaceutical Co Ltd, Prin-
                                                                  ston Pharmaceutical, Inc., Solco Healthcare US,
   Dufrene      Lana          Defense      Kidney
                                                                    LLC, Huahai US, Inc., Teva Pharmaceuticals
                                                                     USA, Inc., Torrent Pharmaceuticals, Ltd.
                                                                  Aurobindo, Hetero, Mylan, ZHP, Acetris, A-S
                                                                   Medication Solutions, Aurobindo, AvKare,
                                                                 Camber, HJ Jarkins Co., Huahai, NuCare Phar-
   Durl         Welch         Defense      Liver
                                                                 maceuticals, Preferred Pharmaceuticals, Remedy
                                                                   Repack, CVS Health, Hetero USA, Printson
                                                                                 Pharmaceutical
                                                                   ZHP, Solco, Prinston, Mylan, Rite Aid, Wal-
   Fields       Tivis         Both         Colorectal
                                                                                       Mart
                                                                  ZHP, Huahai US, Prinston, Solco, Hetero, Cam-
   Ganim        Bambi         Both         Liver
                                                                           ber, Mylan, Torrent, Cigna
                                                                   ZHP, Solco, Hauhai, Prinston, Teva, Actavis,
   Garcia       Robert        Defense      Colorectal
                                                                       Torrent, Cigna, Walgreens, Walmart
                                                                  ZHP, Hauhai, Solco, Prinston, Teva, ABC, Car-
   Guillory     Maxine        Plaintiff    Colorectal              dinal Health, McKesson, Walgreens, Fred's
                                                                                   Pharmacy
                                                                 Aurobindo Pharma Ltd., Zhejiang Huahai Phar-
                                                                 maceutical Co., Ltd., Arrow Pharm (Malta) Ltd.,
                                                                   Aurolife Pharma, LLC, Aceteris, LLC, A-S
                                                                 Medication Solutions, LLC, Aurobindo Pharma
   Hanna        Nabil         Plaintiff    Stomach
                                                                  USA, Inc., H J Harkins Co, Inc., Huahai U.S.,
                                                                  Inc.NuCare Pharmaceutical, Inc., RemedyRe-
                                                                     pack, Inc., Solco Healthcare U.S., LLC,
                                                                     Walmart, Prinston Pharmaceutical Inc.
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                                                           Zhejiang Huahai Pharmaceutical Co., Ltd.,
                                                        Huahai U.S., Inc., Prinston Pharmaceutical, Inc.,
                                                           Teva Pharmaceuticals USA, Inc., Actavis
   Kennedy     Paulette   Defense      Lymphoma
                                                        Pharma, Inc., Actavis, LLC, Mylan, N.V., Mylan
                                                         Laboratories, Inc., The Kroger Co., Walgreens,
                                                                      Amerisource Bergen
                                                          ZHP, Huahai, Solco, Prinston, Teva, Actavis,
   Kinkela     Silvano    Defense      Colorectal
                                                                     Optum, UnitedHealth
   Lee         Robert     Plaintiff    Colorectal       ZHP, Huahai, Prinston, Teva, Actavis, Walmart
   Meeks       Ronald     Defense      Esophageal         ZHP, Teva, Actavis, Huahai, Solco, Prinston
                                                        Zhejiang Huahai Pharmaceutical Co., Ltd., Solco
   Murawski    Georgia    Plaintiff    Stomach           Healthcare US, Ltd., Walgreens, Prinston Phar-
                                                               maceutical, Inc., Huahai U.S., Inc.
                                                        ZHP, Huahai, Solco, Prinston, Mylan, Teva, Ac-
                                                        tavis, Avkare, Preferred Pharmaceuticals, Rem-
   Murga       Crusita    Defense      Colorectal
                                                         edy Repack, Hetero, Camber, Cigna, Express
                                                                             Scripts
                                                          Hetero Drugs, Ltd., Hetero Labs, Ltd., Hetero
                                                         USA, Inc., Avkare, Inc., Camber Pharmaceuti-
   Ochs        Marvella   Defense      Colorectal
                                                         cals, Inc., RemedyRepak, Inc., The Kroger Co.,
                                                           Northwind Pharmceuticals, Wal-Mart, Inc.
                                                          ZHP, Huahai, Solco, Prinston, Teva, Mylan,
   Pate        Eugene     Defense      Colorectal
                                                                              CVS
                                                         Mylan, ZHP, Torrent, Huahai, Solco, WalMart,
   Pizzolato   Brad       Plaintiff    Prostate                             Prinston
                                                           Zhejiang Huahai Pharmaceutical Co., Ltd.,
                                                          Mylan Laboratories Ltd., Mylan N.V., Mylan
                                                          Pharmaceuticals Inc., Huahai U.S., Inc., Solco
   Ramirez     Richard    Plaintiff    Stomach           Healthcare U.S., LLC, Prinston Pharmaceutical
                                                            Inc., A-S Medication Solutions, Inc., H J
                                                         Harkins Co., Inc., Nucare Pharmaceuticals, Inc.,
                                                                      RemedyRepack, Inc.
                                                          ZHP, Prinston, Solco, North Baldwin Family
   Roberts     Gaston     Plaintiff    Liver
                                                                           Pharmacy
                                                          Zhejiang Huahai Pharmaceutical Co., Ltd.,
   Smalls      Evon       Plaintiff    Stomach           Huahai U.S., Inc., Solce Healthcare U.S., LLC,
                                                            WalMart, Prinston Pharmaceutical Inc.
   Stephens    James      Plaintiff    Colorectal            ZHP, Hauhai, Solco, Mylan, Publix
                                                          ZHP, Solco, Hauhai, Prinston, Teva, Actavis,
                                                          Mylan, Avkare, Cardinal Health, HJ Harkins,
   Suits       James      Plaintiff    Colorectal
                                                           NuCare Pharmaceuticals, Remedy Repack,
                                                                       ABC, McKesson,
                                                          ZHP, Huahai, Solco, Prinston Mylan, Torrent,
   Svebek      Michael    Defense      Colorectal
                                                                       Remedy Repack
   Weygandt    Robert     Plaintiff    Colorectal           ZHP, Solco, Teva, Actavis, Albertsons
